                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO

IN RE:                                        )      CHAPTER 11
                                              )
Squirrels Research Labs LLS, et al.,          )      CASE NO. 21-61491-rk
                                              )      (Jointly Administered)
                Debtors.                      )
                                              )      JUDGE RUSS KENDIG

               NOTICE OF THE CINCINNATI INSURANCE COMPANY’S
           MOTION FOR RELIEF FROM STAY AND CERTIFICATE OF SERVICE

        The Cincinnati Insurance Company has filed papers with the court to obtain relief from a stay
for an order lifting the automatic stay imposed by section 362(a) of the Bankruptcy Code for the purpose
of permitting Envista to be paid from insurance reserves held by Cincinnati Insurance.

Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult one.)

If you do not want the court to grant the relief requested sought in the motion, or if you want the court
to consider your views on the motion, then on or before February 9, 2022, you or your attorney must:

1.     File a written response, explaining your position, at

         U.S. Bankruptcy Court
         Ralph Regula Federal Building and U.S. Courthouse
         401 McKinley Ave. SW
         Canton, OH 44702

If you mail your response to the court for filing, you must mail it early enough so that the court will
receive it on or before the date stated above.

2.       Mail a copy to:

         Robert E. Goff, Jr., Esq.
         Weston Hurd LLP
         1300 E. 9th Street, Suite 1400
         Cleveland, OH 44114




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3.       Attend the hearing scheduled to be held on February 16, 2022 at 9:30 a.m. Counsel and
parties should call (888) 684-8852 and use Access Code 3303949 followed by the pound sign,
which is #. Upon connection you will automatically be muted. (That is, you will be able to hear,
but you will not be heard.) The courtroom deputy will call court into session and call each case.
When your case is called, you may unmute your line by pressing * and then pressing 6 on your
telephone key pad. If you have a problem connecting to the hearing, immediately contact
chambers at 330-458-2440. The hearing may be adjourned by the court from time to time
without further notice.

If you or your attorney do not take these steps, the court may decide that you do not oppose the relief
sought in the motion and may enter an order granting that relief without further hearing or notice.



                                                     Respectfully submitted,


                                                     /s/ Robert E. Goff, Jr.
                                                     ROBERT E. GOFF, JR. (0069818)
                                                     Weston Hurd LLP
                                                     1300 E. 9th Street, Suite 1400
                                                     Cleveland, OH 44114
                                                     Phone: (216) 241-6602 / Fax: (216) 621-8369
                                                     Email: RGoff@westonhurd.com


                                                     Counsel for Movant
                                                     The Cincinnati Insurance Company




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                                          CERTIFICATE OF SERVICE

       The undersigned certifies that on January 5, 2022, a true and correct copy of the foregoing

Notice of The Cincinnati Insurance Company’s Motion for Relief From Stay and Certificate of Service

was served via the Court’s electronic case filing system on these entities and individuals who are listed

on the Court’s Electronic Mail Notice List:

       Marc B. Merklin on behalf of Debtor Squirrels Research Labs LLC
       mmerklin@brouse.com; tpalcic@brouse.com; mmiller@brouse.com

       Julie K. Zurn on behalf of Debtor Squirrels Research Labs LLC
       jzurn@brouse.com; tpalcic@brouse.com

       Kate M. Bradley on behalf of United States Trustee
       kate.m.bradley@usdoj.gov

       Frederic P. Schwieg, Subchapter V Trustee
       fschwieg@schwieglaw.com

       John C. Cannizzaro on behalf of Interested Party Instantiation LLC
       john.cannizzaro@icemiller.com; laurenprohaska@icemiller.com

       Jeannie Kim on behalf of Interested Party Instantiation LLC
       JeKim@sheppardmullin.com; dgatmen@sheppardmullin.com

       Jason R. Schendel on behalf of Interested Party Instantiation LLC
       jschendel@sheppardmullin.com

       Christopher Paul Combest on behalf of Creditor Avnet, Inc.
       christopher.combest@quarles.com

       Christopher Niekamp on behalf of Creditor Better PC, LLC
       cniekamp@bdblaw.com

       Paul J. Schumacher on behalf of Interested Party Ohio Power Company dba American Electric Power
       pschumacher@dmclaw.com; tgross@dmclaw.com

       John G. Farnan on behalf of Creditor The Cincinnati Insurance Company
       jfarnan@westonhurd.com

       David M. Neumann on behalf of Creditor Envista Forensics, LLC d/b/a AREPA
       dneumann@meyersroman.com

       David M. Neumann on behalf of Creditor Torea Consulting Ltd.
       dneumann@meyersroman.com

       Joshua R. Vaughan on behalf of Creditor Ohio Bureau of Workers Compensation
       jvaughan@amer-collect.com



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And by regular U.S. Mail, postage prepaid, on:
       Brouse McDowell, on behalf of Debtor Squirrels Research Labs LLC
       388 South Main Street, Suite 500
       Akron, OH 44311-4407




                                                         /s/ Robert E. Goff, Jr.
                                                         ROBERT E. GOFF, JR. (0069818)




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